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           15                                 UNITED STATES DISTRICT COURT

           16                                NORTHERN DISTRICT OF CALIFORNIA

           17
                 IN RE META PIXEL HEALTHCARE                     Case No. 3:22-cv-3580-WHO
           18    LITIGATION,
                                                                 DEFENDANT META PLATFORMS, INC.’S
           19                                                    ADMINISTRATIVE MOTION TO
                                                                 CONSIDER WHETHER CASES SHOULD
           20                                                    BE RELATED
                 This Document Relates To:
           21                                                    CLASS ACTION
                 All Actions
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Gibson, Dunn &
Crutcher LLP
                           DEFENDANT META PLATFORMS, INC.’S ADMINISTRATIVE MOTION TO CONSIDER
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 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2           Pursuant to Local Rules 3-12 and 7-11 of the United States District Court for the Northern

 3   District of California, and this Court’s October 12, 2022 Order, counsel for Defendant Meta Platforms,

 4   Inc. (“Meta”) submits this Administrative Motion to consider whether John Doe & Jane Doe v. Meta

 5   Platforms, Inc., Case No. 3:22-cv-07557-SI (the “First Financial Data Case”), filed in this District on

 6   December 1, 2022, and Katrina Calderon, et al. v. Meta Platforms, Inc., Case No. 5:22-cv-09149-

 7   VKD, filed in this District on December 29, 2022 (the “Second Financial Data Case,” and collectively,

 8   the “Financial Data Cases”), should be related to the above-captioned action, In re Meta Pixel

 9   Healthcare Litigation, Case No. 3:22-cv-3580-WHO (the “Consolidated Action”) and thereafter

10   consolidated with the Consolidated Action for the limited purpose of conducting discovery.

11           Plaintiffs in the Financial Data Cases object to the motion to relate.         Plaintiffs in the

12   Consolidated Action do not oppose relation of the Financial Data Cases subject to the Motion, but

13   intend to respond with respect to Meta’s request for partial consolidation. (See Goldman Decl. ¶ 3.)

14     I.    STATEMENT OF RELEVANT FACTS

15           Plaintiffs in the Consolidated Action have alleged that their respective healthcare providers

16   installed Meta’s Pixel tool on the patient portal websites that the plaintiffs used to access their

17   healthcare providers’ services. They alleged that, as a result of the healthcare providers’ use of the

18   Meta Pixel tool on these patient portals, Meta has received sensitive information about them, including

19   personally identifiable, confidential, and otherwise sensitive health information. These plaintiffs bring

20   a variety of common law and statutory privacy-related causes of action. Although a consolidated
21   complaint is forthcoming, the causes of action in the non-consolidated complaints include claims under

22   the Electronic Communications Privacy Act (“ECPA”), the California Invasion of Privacy Act

23   (“CIPA”), common law invasion of privacy and intrusion upon seclusion, breach of contract, and the

24   California Unfair Competition Law (“UCL”). The plaintiffs in the first-filed case in the Consolidated

25   Action seek to represent a putative class of “[a]ll Facebook users who are current or former patients of

26   medical providers in the United States with web properties through which Facebook acquired patient

27   communications relating to medical provider patient portals, appointments, phone calls, and

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 1   communications associated with patient portal users, for which neither the medical provider nor

 2   Facebook obtained a HIPAA, or any other valid, consent.”1

 3             On October 12, 2022, this Court granted a motion to consolidate four related cases

 4   (“Consolidation Order”)—John Doe v. Meta Platforms, Inc. (“John Doe”), Case No. 3:22-cv-03580-

 5   WHO, Jane Doe v. Meta Platforms, Inc. et al., Case No. 3:22-cv-04293-WHO, Doe v. Meta Platforms,

 6   Inc., Case No. 3:22-cv-04680-WHO, and Jane Doe v. Meta Platforms, Inc., Case No. 3:22-cv-04963-

 7   WHO. See John Doe Dkt. 73. On October 19, 2022, this Court granted a motion relating two additional

 8   related cases—Malinda S. Smidga v. Meta Platforms, Inc., Case No. 4:22-cv-05753-KAW, and

 9   Michael Krackenberger v. Northwestern Memorial Hospital, et al., Case No. 4:22-cv-06020-DMR.

10   See John Doe Dkt. 79. On November 7, 2022, this Court granted a motion to relate Doe, et al. v. Meta

11   Platforms, Inc., Case No. 22-cv-06665-AGT. See John Doe Dkt. 119. In its Consolidation Order, this

12   Court directed the parties to “file an Administrative Motion to Consider Whether Cases are

13   Related . . . whenever a related case is filed in, or transferred to, this District.” John Doe Dkt. 79 at 3.

14   Under the terms of the Consolidation Order, any case deemed related “shall be consolidated into [the

15   Consolidated Action] unless a party objects to consolidation within fourteen days of the related case

16   order.” Id.

17             On December 1, 2022, after this Court issued its Consolidation Order, the First Financial Data

18   Case was filed. The Second Financial Data Case was filed on December 29, 2022. Both of the

19   Financial Data Cases allege that major online tax filing services, including H&R Block, TaxAct, and

20   TaxSlayer, installed the Meta Pixel tool on their websites. Plaintiffs allege that they used these tax
21   filing services and that, as a result of these tax filing services’ use of the Meta Pixel tool, Meta has

22   received sensitive user information, including personally identifiable, confidential, and otherwise

23   sensitive financial information about them. They claim that this information includes tax filers’ names,

24   email addresses, tax-filing status, refund amounts, dependents’ names, and dependents’ college

25   scholarship amounts. These plaintiffs also bring a variety of common law and statutory privacy-related

26   causes of action. Both Financial Data Cases allege claims under the ECPA, the CIPA, and California’s

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         The other complaints in the Consolidated Action contain similar class definitions.
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 1   common-law privacy doctrines. The First Financial Data Case also includes claims for, inter alia,

 2   breach of contract, and violation of the UCL. The plaintiffs in the First Financial Data Case seek to

 3   represent a putative class of “[a]ll Facebook users who are current or former users of tax-preparation

 4   service providers in the United States with web properties through which Meta acquired tax return

 5   information, and for which neither the tax-preparation service provider nor Meta obtained a valid

 6   consent.” The plaintiffs in the Second Financial Data Case seek to represent a nationwide class of

 7   “[a]ll people in the United States who used the online tax preparation providers H&R Block, TaxAct,

 8   or TaxSlayer while those websites had the Facebook pixel installed on them.”

 9           On January 4, 2023, the plaintiffs in the Second Financial Data Case filed an Administrative

10   Motion asking that the First and Second Financial Data Cases be related to each other. First Financial

11   Data Case, Dkt. 21.

12    II.    ARGUMENT

13           Under Civil Local Rule 3-12(a), “[a]n action is related to another when: (1) The actions concern

14   substantially the same parties, property, transaction, or event; and (2) It appears likely that there will

15   be an unduly burdensome duplication of labor and expense or conflicting results if the cases are

16   conducted before different Judges.”        Although there are meaningful differences between the

17   Consolidated Action and the Financial Data Cases, all of these cases relate to the same technology

18   (Meta’s Pixel tool), include overlapping factual allegations and bring similar legal claims. These

19   similarities justify relation for the purposes of discovery.

20              A. The Consolidated Action And The Financial Data Cases Are Related
21           The Consolidated Action and the Financial Data Cases “concern substantially the same parties,

22   property, transaction, or event.”     Civ. L.R. 3-12(a).       All cases were brought against the same

23   Defendant—Meta—and the plaintiffs in all cases allegedly used websites on which the Meta Pixel tool

24   was installed and claim that as a result, Meta received sensitive information about them. See Par

25   Pharmaceutical, Inc. v. Takeda Pharmaceutical Co., 2013 WL 12221673, at *2-3 (N.D. Cal. Oct. 28,

26   2013) (granting motion to relate where the actions shared the same defendant, concerned same patent,

27   and concern the same transaction or event). Although the Consolidated Action involves the alleged

28   collection of sensitive health information and the Financial Data Cases involve the alleged collection

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 1   of sensitive financial information—which is a meaningful distinction—the actions concern the same

 2   “transaction[] or event”: Meta’s receipt of data through the Pixel tool. See Pepper v. Apple Inc., 2019

 3   WL 4783951, at *1 (N.D. Cal. Aug. 22, 2019) (finding cases related where the cases “center around

 4   the same technology and economic structures”). And all the cases contain similar causes of action

 5   against Meta that include common law and statutory privacy-related claims. Every cause of action

 6   alleged in the Financial Data Cases was also alleged in at least one of the cases in the Consolidated

 7   Action.

 8             Given these similarities, it is “likely that there will be an unduly burdensome duplication of

 9   labor and expense or conflicting results if the cases are conducted before different Judges.” Civ. L.R.

10   3-12(a). This Court is already becoming familiar with the technology and factual issues involved in

11   these cases, including Meta’s receipt of data through the Pixel tool, Meta’s policies, and Meta’s efforts

12   to block data that it does not want to receive. Although there will likely be significant factual

13   distinctions between the Consolidated Action and the Financial Data Cases, it will increase efficiency

14   and reduce the risk of conflicting results for the cases to be heard by the same judge. In addition,

15   discovery in these cases will likely raise common disputes surrounding discovery requests and

16   productions. A consolidated discovery process would prevent Meta, and the courts, from having to

17   resolve the same contested issues multiple times and will avoid potential conflicts regarding the scope

18   of discovery. See Pepper, 2019 WL 4783951, at *2 (finding relation proper where all cases “have yet

19   to begin substantial discovery and so efficiency gains will be achieved in discovery”). Finally, the

20   parties to the Consolidated Action have already begun negotiating a protective order and ESI Protocol,
21   and consolidation would ensure consistent treatment of confidential material across these cases.

22                B. The Consolidated Action And The Financial Data Cases Should Be Consolidated

23                    For Discovery Purposes Only

24             Meta submits that the Consolidated Action and the Financial Data Cases should not be

25   consolidated for all purposes, unlike the actions that have been consolidated to date. The different

26   types of data at issue—health information versus financial data—and the different putative classes

27   warrant distinct complaints and will implicate a number of distinct legal issues, evidence, witnesses,

28   and defenses. These distinctions warrant consolidation for purposes of discovery only.

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 1            In addition, the Consolidated Action has advanced further in the litigation process than the

 2   Financial Data Cases. This Court has already appointed interim class counsel, and plaintiffs’ deadline

 3   to file a consolidated complaint is quickly approaching. In contrast, the Financial Data Cases, which

 4   were filed in December 2022, are at a very preliminary stage of litigation. No responsive pleadings or

 5   amended complaints have been filed, no initial case management conferences have occurred, and there

 6   have been no meet and confer efforts (beyond those in connection with this administrative motion) to

 7   date.

 8            In short, while the complaints, motion practice, and trial (if necessary) should remain distinct,

 9   consolidating the cases for the purposes of discovery alone will still increase efficiency between the

10   cases and conserve the Court’s and parties’ time and resources.

11   III.     CONCLUSION

12            Accordingly, Meta respectfully requests that the Financial Data Cases be related to the

13   Consolidated Action and thereafter consolidated with the Consolidated Action for purposes of

14   discovery.

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16   Dated: January 9, 2023                         GIBSON, DUNN & CRUTCHER LLP

17                                                  By: /s/ Lauren R. Goldman
                                                        Lauren R. Goldman
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                                                    COOLEY LLP
20
                                                    By: /s/ Michael G. Rhodes
21                                                       Michael G. Rhodes
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23                                                  Attorney for Meta Platforms, Inc. (formerly known as
                                                    Facebook, Inc.)
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1                                  CIVIL L.R. 5-1(h)(3) ATTESTATION
2           Pursuant to Civil Local Rule 5-1(h)(3), I, Lauren Goldman, hereby attest under penalty of
3    perjury that concurrence in the filing of this document has been obtained from all signatories.
4

5    Dated: January 9, 2023                       GIBSON, DUNN & CRUTCHER LLP
6                                                 By: /s/ Lauren R. Goldman
                                                      Lauren R. Goldman
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